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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WISCONSIN


CHAD M. MCEVER,
SCOTT OPPENHEIMER, and
PEGGY O OPPENHEIMER LIVING TRUST
                                                                      Case 25-cv-508
                      Plaintiffs,
v.

TOWN OF SCOTT,

                      Defendant


            DECLARATION OF ATTORNEY MICHAEL J. ROMAN
           IN SUPPORT OF DEFENDANT’S NOTICE OF REMOVAL


      Pursuant to 28 U.S.C. § 1746, I hereby declare the following to be true under

penalty of perjury.

      1.     I am one of the attorneys representing the defendant, Town of Scott, in

the above matter. I am duly licensed and authorized to practice law in the State of

Wisconsin and am admitted to practice before the United States District Court for

the Western District of Wisconsin. I make this affidavit based on my personal

knowledge and as an authorized representative for the above defendant as their

counsel of record.

      2.     The original Summons and Complaint in the above action was filed by

the plaintiffs, Chad M. McEver, Scott Oppenheimer, and Peggy O Oppenheimer

Living Trust, in the Circuit Court for Burnett County, Wisconsin (Burnett County

Circuit Court Case No. 2025CV48) on May 16, 2025, and the action is now pending

in state court.


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      3.     The Town of Scott was served with a copy of the summons and

complaint on May 28, 2025; a process server left a copy of the summons and

complaint with the Town Clerk Kenneth Busby.

       4.    The Complaint alleges the plaintiff Chad M. McEver as an adult

resident of the State of Texas, the plaintiff Scott Oppenheimer as an adult resident

of the State of Florida, and the plaintiff Peggy O Oppenheimer Living Trust,

incorporated in the State of Florida—all owing real property in the Town of Scott,

Burnett County, Wisconsin.

      5.     The defendant, Town of Scott, is a municipal town body under Wis.

Stat. § 60.01, located in Burnett County, Wisconsin, 28390 County Rd H, Spooner,

WI 54801.

      6.     The plaintiffs’ state court Complaint alleges original federal question

causes of action under 28 U.S.C. § 1331, by challenging the constitutionality of the

Town of Scott’s Ordinance No-2024-01 an ordinance relating to regulating certain

Artificial Wake Enhancement on lakes within the Town of Scott. The plaintiffs

claim the ordinance violates their constitutional rights to procedural and

substantive due process under the United States Constitution and the Fourteeth

Amendment. They allege causes of action under 42 U.S.C. § 1983 and 42 U.S.C.

§ 1988, and relief under 28 U.S.C. §§ 2201-2202.

      7.     The plaintiffs’ complaint also alleges state law claims challenging the

enforceability and legality of Town of Scott’s Ordinance No-202401 under the

Wisconsin Constitution and Wis. Stat. § 806.04. These claims give rise to

supplemental jurisdiction to the district court under 28 U.S.C. § 1367(a) because


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they arise out of and are so related to the same case or controversy over the Town’s

Artificial Wake Enhancement ordinance that gives rise to the district court’s

original federal question jurisdiction.

       8.     The Summons and Complaint names the Town of Scott as the only

defendant, and thus all defendants have consented to the removal of the action to

the district court.

       9.     The summons and complaint were served on the Town of Scott on May

28, 2025; therefore, this Notice of Removal is timely filed because it was filed within

the 30 days of the triggering deadline for removal under § 1446(b).

       10.    True and accurate copies of the pleadings and submissions referenced

in this affidavit and the Notice of Removal that were served on the defendant in

Burnett County Circuit Court No. 2025CV48 accompany the Notice of Removal.

       11.    I declare under penalty of perjury that the foregoing is true and correct

to the best of my knowledge and recollection.

       Dated at Wausau, Wisconsin this 16th day of June, 2025.

                                          s/ Michael J. Roman
                                          Michael J. Roman
                                          State Bar No.: 1020648
                                          Attorneys for the Defendant, Town of Scott,
                                          KRAMER SHULL REETHS LLP
                                          210 McClellan Street Suite 400
                                          Wausau, WI 54403
                                          Telephone: 715/845-5656
                                          Fax: 715/845-5666
                                          Email: mroman@ksrllp.com




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